         Case 7:21-cv-10538-KMK Document 20 Filed 08/12/22 Page 1 of 3




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 WILFRED LABOSSIERE,

                                 Plaintiff,

                           v.                                    No. 21-CV-10538 (KMK)

 DOWNSTATE CORRECTIONAL FACILITY,                                 ORDER OF PARTIAL
 JOHN DOE (OFFICER) BLOCK OFFICER OF                                 DISMISSAL
 BLOCK 3 TO 11 SHIFT ON JULY 13, 2019, and
 N. BAXTER,

                                 Defendants.

KENNETH M. KARAS, United States District Judge:

        Plaintiff, who is currently incarcerated in Sing Sing Correctional Facility, brings this pro

se action under 42 U.S.C. § 1983, alleging that Defendants violated his rights when he was

incarcerated in Downstate Correctional Facility. By order dated February 18, 2022, Chief Judge

Swain granted Plaintiff’s request to proceed without prepayment of fees, that is, in forma

pauperis (“IFP”). (See Dkt. No. 9.) On February 24, 2022, the Court entered an Order of

Service in which it instructed Plaintiff to file an amended complaint within 30 days that included

specific allegations as to the John Doe defendant or risk dismissal of Plaintiff’s § 1983 claims

against the John Doe defendant for failure to allege that the John Doe defendant was personally

involved in a constitutional violation. (See Dkt. No. 11.) Plaintiff failed to file an amended

complaint, (see Dkt.), so on June 14, 2022, the Court entered an order again instructing Plaintiff

to file an amended complaint containing specific allegations as to the John Doe defendant within

30 days or risk dismissal, (see Dkt. No. 16). To date, Plaintiff has failed to file an amended

complaint. Therefore, Plaintiff’s § 1983 claims against the John Doe defendant are dismissed for

failure to plead personal involvement. See Labossiere v. Montefiore, No. 21-CV-10541, 2022
           Case 7:21-cv-10538-KMK Document 20 Filed 08/12/22 Page 2 of 3




WL 3214927, at *1–2 (S.D.N.Y. Aug. 9, 2022) (dismissing § 1983 claims against certain

defendants pursuant to § 1915 for failure to plead personal involvement).

         The Clerk of Court is directed to mail a copy of this Order to Plaintiff.



SO ORDERED.

Dated:     August 12, 2022
           White Plains, New York

                                                            KENNETH M. KARAS
                                                           United States District Judge




                                                   2
Case 7:21-cv-10538-KMK Document 20 Filed 08/12/22 Page 3 of 3




              DEFENDANT AND SERVICE ADDRESS


    Correction Officer Neil Baxter
    Shawngunk Correctional Facility
    200 Quick Road
    P.O. Box 750
    Wallkill, New York 12589-0750
